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           EXHIBIT A
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   ABCELLERA BIOLOGICS INC. and
10 THE UNIVERSITY OF BRITISH COLUMBIA

11 (additional counsel on signature page)

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN JOSE DIVISION
14 ABCELLERA BIOLOGICS INC. and THE                    Case No. 5:20-cv-08624-LHK
   UNIVERSITY OF BRITISH COLUMBIA,                     Case No. 5:20-cv-08626-LHK
15                                                     Case No. 5:20-cv-08627-LHK
             Plaintiffs,
16
        vs.                                            ABCELLERA BIOLOGICS INC.’S
17                                                     RESPONSES TO DEFENDANT
   BERKELEY LIGHTS, INC.,                              BERKELEY LIGHTS, INC.’S FIRST SET
18                                                     OF REQUESTS FOR PRODUCTION TO
             Defendant.                                PLAINTIFF ABCELLERA BIOLOGICS
19                                                     INC.
20

21          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the applicable
22 Local Civil of the United States District Court for the Northern District of California (the “Local

23 Rules”), Plaintiff AbCellera Biologics Inc. (“AbCellera”) hereby objects and responds to

24 Defendant Berkeley Lights, Inc.’s First Set of Requests for Production (“Defendant’s RFPs”) to

25 Plaintiff AbCellera Biologics Inc. submitted by Defendant Berkeley Lights, Inc. (“Berkeley

26 Lights” or “Defendant”) as set forth below.

27

28
                                                     -1-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1                                      GENERAL RESPONSES
 2           1.    AbCellera’s responses to Defendant’s RFPs are made to the best of AbCellera’s

 3 present knowledge, information, and belief. These responses are at all times subject to such

 4 additional or different information that discovery or further investigation may disclose. AbCellera

 5 reserves the right to make any use of, or to introduce at any hearing and trial, information and/or

 6 documents responsive to Defendant’s RFPs but discovered subsequent to the date of these

 7 responses, including, but not limited to, any such information or documents obtained in discovery

 8 herein.

 9           2.    AbCellera’s statement that it “will produce” documents means that AbCellera will

10 produce any non-privileged or otherwise immune protected documents in its possession, custody,

11 or control based upon a reasonable search, and does not constitute a representation that such

12 documents exist.

13           3.    AbCellera’s investigation into the potential existence of materials responsive to

14 Defendant’s RFPs is ongoing and, if found, AbCellera reserves the right to withhold documents

15 responsive to any of Defendant’s RFPs on the basis of any of its general or specific objections.

16           4.    AbCellera reserves all objections or other questions as to the competency,

17 relevance, materiality, privilege, admissibility, or any other protection afforded by law as evidence

18 in any subsequent proceeding or trial of this or any other action for any purpose whatsoever of

19 AbCellera’s responses herein and any document or thing identified or provided in response to

20 Defendant’s RFPs.

21           5.    AbCellera reserves the right to object on any ground at any time to such other or

22 supplemental requests as Defendant may at any time propound involving or relating to the subject

23 matter of these RFPs.

24           6.    AbCellera incorporates each of the following General Objections and Objections to

25 Defendant’s Definitions and Instructions into each of its responses to each of Defendant’s RFPs,

26 and reserves the right to withhold responsive materials on the bases of each such Objection,

27 whether or not expressly referred to in each such response.

28
                                                     -2-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1          7.      AbCellera reserves the right to supplement its answer, objections, or production if

 2 AbCellera uncovers additional documents or information appropriately called for by Defendant’s

 3 RFPs.

 4                                      GENERAL OBJECTIONS
 5          AbCellera makes the following objections, whether or not separately set forth in response

 6 to each RFP, to each of Defendant’s instructions, definitions, and RFPs to the extent that they:

 7          1.      Are directed to matters that are not relevant to any party’s claims or defenses at

 8 issue in this action and the burden of discovery with respect to those matters is disproportionate to

 9 the needs of this litigation;

10          2.      Seek information, documents, or things that are not proportional to the needs of the

11 case, considering the importance of the issues at stake in the action, the amount in controversy, the

12 parties’ relative access to relevant information, the parties’ resources, the importance of the

13 discovery in resolving the issues, and whether the burden or expense of the proposed discovery

14 outweighs its likely benefit;

15          3.      Seek information or documents protected by the attorney-client privilege, work-

16 product doctrine, common interest privilege, or any other privilege, immunity, or protection

17 afforded by law. Any inadvertent disclosure or production of such information or documents shall

18 not be deemed a waiver of any privilege or work-product with respect to such information or

19 documents;

20          4.      Seek information already known to Defendant, available to Defendant from

21 documents in its own files or from other sources, or equally available to Defendant as it is to

22 AbCellera;

23          5.      Are duplicative, vague, ambiguous, overly broad, or unduly burdensome;

24          6.      Seek to assign meaning to words different from their plain and ordinary meaning;

25          7.      Seek information or documents that are not in AbCellera’s possession, custody, or

26 control;

27          8.      Seek information or documents subject to confidentiality agreements, protective

28 orders, or any other obligation pursuant to which AbCellera is required to protect or maintain the
                                                      -3-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 confidentiality of any third party’s information or documents. Inadvertent disclosure of any

 2 confidential information shall not operate as a waiver of any applicable confidentiality protection

 3 or obligation;

 4          9.      Are premature, such that they seek expert discovery or documents or things to be

 5 produced or disclosed at a later date according to the Federal Rules of Civil Procedure, the Local

 6 Civil Rules, the Pretrial Scheduling Order, any agreement(s) between the parties, or any other

 7 applicable authority;

 8          10.     Are unlimited in scope as to time; or

 9          11.     Attempt to impose obligations upon AbCellera that are not required by the Federal

10 Rules of Civil Procedure, the Local Civil Rules, or any other applicable authority.

11    OBJECTIONS TO DEFENDANT’S DEFINITIONS AND RULES OF CONSTRUCTION
12          1.      AbCellera objects to the definitions of “AbCellera,” “You,” and “Your” as overly
13 broad, unduly burdensome, vague, ambiguous, and as not relevant nor proportionate to the needs

14 of the case, to the extent that it refers to any person or entity other than the Plaintiff, AbCellera

15 Biologics Inc.

16          2.      AbCellera objects to the definition of “Berkeley Lights” as not commensurate in
17 scope with Defendant’s definition of AbCellera.

18          3.      AbCellera objects to the definition of the term “Patent” as overly broad, unduly
19 burdensome, vague, ambiguous, and as not relevant nor proportionate to the needs of the case, to

20 the extent that it refers to any patent not specifically enumerated in a document request.

21          4.      AbCellera objects to the definition of the term “Prior Art” as it is Defendant’s

22 obligation to identify prior art to the Asserted Patents in the first instance.

23          5.      AbCellera objects to the definition of the phrase “Related Patents and

24 Applications” as overly broad, unduly burdensome, vague, ambiguous, and as not relevant nor

25 proportionate to the needs of the case, including, but not limited, to the extent the phrase involves

26 patents, applications, and/or other issues that are irrelevant to any claim or defense in the above-

27 captioned cases.

28
                                                       -4-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1          6.      AbCellera objects to the definitions of the terms “Person,” “Communication,”

 2 “relate to,” “reflecting,” “relating to,” “concerning,” and “Document,” to the extent that they seek

 3 to impose obligations upon AbCellera that are not required by the Federal Rules of Civil

 4 Procedure, the Local Civil Rules, or any other applicable authority.

 5          7.      AbCellera objects to paragraphs 14, 17, 18, and 19-29 to the extent that they seek

 6 to impose obligations upon AbCellera that are not required by the Federal Rules of Civil

 7 Procedure, the Local Civil Rules, or any other applicable authority.

 8          8.      AbCellera additionally objects to paragraph 20 as overly broad, unduly

 9 burdensome, vague, ambiguous, and as not relevant nor proportionate to the needs of the case,

10 including, but not limited, to the extent it seeks production of documents not in AbCellera’s

11 possession, custody or control.

12          9.      AbCellera additionally objects to paragraph 23 as confusing. Plaintiffs will assume

13 that if a defined term or phrase is capitalized, then the meaning ascribed to it shall be used. If not

14 capitalized, Plaintiffs will assume the term to have its plain and ordinary meaning.

15          10.     AbCellera additionally objects to paragraph 24 as overly broad, unduly

16 burdensome, vague, ambiguous, and as not relevant nor proportionate to the needs of the case,

17 including, but not limited, to the extent it involves non-party “Juniper.” Plaintiffs will provide a

18 privilege log at an agreed-upon time and in accordance with the Federal Rules of Civil Procedure

19 or agreement between the parties.

20          11.     AbCellera additionally objects to paragraph 25 as overly broad, unduly

21 burdensome, vague, ambiguous, and as not relevant nor proportionate to the needs of the case.

22                                    RESPONSES TO REQUESTS
23 REQUEST FOR PRODUCTION NO. 1:

24         Any Documents constituting, referring to, or relating to any investigations, analyses,
   studies, or opinions regarding the patentability (including prior art searches), enforceability, or
25 infringement of the Asserted Patents or Related Patents and Applications.

26 RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

27          AbCellera incorporates by reference each of the foregoing General Objections as if set

28 forth herein. AbCellera objects to this Request to the extent that it seeks information protected
                                                      -5-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 from disclosure by the attorney-client privilege, the attorney work product protection, common

 2 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 3 on the grounds that it seeks documents and information that are not relevant to any claim or

 4 defense currently in this action and not proportional to the needs of the case, and because the

 5 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 6 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 7 in this case, including, but not limited to, the extent it seeks documents concerning “Related

 8 Patents and Applications.” AbCellera further objects to the Request on the ground that the terms

 9 “investigations,” “analyses,” studies,” and “opinions” are undefined, vague, and ambiguous.

10 AbCellera further objects to this Request as overly broad and unduly burdensome to the extent that

11 it seeks “[a]ny Documents” regarding the requested subject matter. AbCellera further objects to

12 this Request to the extent that it prematurely seeks AbCellera’s contentions and/or expert

13 opinion(s) before any date(s) provided for in the Local Rules and/or any schedule agreed to by the

14 parties and adopted by the Court. AbCellera further objects to this Request to the extent that it

15 seeks expert testimony and/or legal conclusions.

16          Subject to and without waiver of the foregoing general and specific objections, and to the

17 extent that AbCellera understands the Request, AbCellera does not intend to produce any

18 documents in response to this Request as currently drafted. AbCellera is willing to meet and

19 confer regarding this Request.

20 REQUEST FOR PRODUCTION NO. 2:

21         All Documents constituting, referring to, or relating to any communication by or with any
   third party regarding the patentability, enforceability, enforcement, or infringement of the Asserted
22 Patents or Related Patents and Applications.

23 RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

24          AbCellera incorporates by reference each of the foregoing General Objections as if set

25 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

26 from disclosure by the attorney-client privilege, the attorney work product protection, common

27 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

28 on the grounds that it seeks documents and information that are not relevant to any claim or
                                                     -6-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 defense currently in this action and not proportional to the needs of the case, and because the

 2 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 3 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 4 in this case, including, but not limited to, the extent it seeks documents concerning “Related

 5 Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly

 6 burdensome to the extent that it seeks “[a]ll Documents” and “any communications by or with any

 7 third party” regarding the requested subject matter. AbCellera further objects to this Request to

 8 the extent that it prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any

 9 date(s) provided for in the Local Rules and/or any schedule agreed to by the parties and adopted

10 by the Court. AbCellera further objects to this Request to the extent that it seeks expert testimony

11 and/or legal conclusions.

12          Subject to and without waiver of the foregoing general and specific objections, and to the

13 extent that AbCellera understands the Request, AbCellera does not intend to produce any

14 documents in response to this Request as currently drafted. AbCellera is willing to meet and

15 confer regarding this Request.

16 REQUEST FOR PRODUCTION NO. 3:

17          All Documents constituting, referring to, or relating to the preparation, filing, or
     prosecution of the Asserted Patents or Related Patents and Applications.
18
     RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
19
            AbCellera incorporates by reference each of the foregoing General Objections as if set
20
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
21
     from disclosure by the attorney-client privilege, the attorney work product protection, common
22
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
23
     on the grounds that it seeks documents and information that are not relevant to any claim or
24
     defense currently in this action and not proportional to the needs of the case, and because the
25
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
26
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
27
     in this case, including, but not limited to, the extent it seeks documents concerning “Related
28
                                                       -7-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 Patents and Applications.” AbCellera further objects to the Request on the ground that the terms

 2 “preparation,” “filing,” and “prosecution” are undefined, vague, and ambiguous. AbCellera

 3 further objects to this Request as overly broad and unduly burdensome to the extent that it seeks

 4 “[a]ll Documents” regarding the requested subject matter. AbCellera further objects to this

 5 Request to the extent that it seeks expert testimony and/or legal conclusions. AbCellera further

 6 objects to this Request as unduly burdensome as Defendant is no more burdened by the task of

 7 retrieving publicly available documents than is AbCellera.

 8          Subject to and without waiver of the foregoing general and specific objections, and to the

 9 extent that AbCellera understands the Request, AbCellera intends to produce a copy of the file

10 history for each patent within the definition of Asserted Patents. AbCellera does not intend to

11 produce any other documents in response to this Request as currently drafted.

12 REQUEST FOR PRODUCTION NO. 4:

13          All Documents and Communications relating to the named inventors of the Asserted
   Patents (including Anupam Singhal, Carl L.F. Hansen, John W. Schrader, Charles A. Haynes,
14 Daniel J. Da Costa, Veronique Lecault, and James M. Piret) and concerning the Asserted Patents
   or Related Patents and Applications.
15
   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
16
            AbCellera incorporates by reference each of the foregoing General Objections as if set
17
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
18
   from disclosure by the attorney-client privilege, the attorney work product protection, common
19
   interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
20
   on the grounds that it seeks documents and information that are not relevant to any claim or
21
   defense currently in this action and not proportional to the needs of the case, and because the
22
   burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
23
   limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
24
   in this case, including, but not limited to, the extent it seeks documents concerning “Related
25
   Patents and Applications.” AbCellera further objects to this Request on the ground that it seeks
26
   information or documents that are not within AbCellera’s possession, custody, or control.
27
   AbCellera further objects to this Request as overly broad and unduly burdensome to the extent that
28
                                                     -8-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 it seeks “[a]ll Documents and Communications” regarding the requested subject matter.

 2 AbCellera further objects to this Request on the ground that it seeks information or documents that

 3 are not within AbCellera’s possession, custody, or control.

 4          Subject to and without waiver of the foregoing general and specific objections, and to the

 5 extent that AbCellera understands the Request, AbCellera will search for and, if found, produce

 6 copies of documents that relate to the conception and reduction to practice of the inventions

 7 claimed in the asserted claims of the Asserted Patents to the extent that any such documents are

 8 not protected from disclosure based on any applicable privilege or immunity. AbCellera does not

 9 intend to produce any other documents in response to this Request as currently drafted.

10 REQUEST FOR PRODUCTION NO. 5:

11          All Documents constituting, referring to, or relating to any assignment of rights in the
     Asserted Patents or Related Patents and Applications.
12
     RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
13
            AbCellera incorporates by reference each of the foregoing General Objections as if set
14
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
15
     from disclosure by the attorney-client privilege, the attorney work product protection, common
16
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
17
     on the grounds that it seeks documents and information that are not relevant to any claim or
18
     defense currently in this action and not proportional to the needs of the case, and because the
19
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
20
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
21
     in this case, including, but not limited to, the extent it seeks documents concerning “Related
22
     Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
23
     burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
24
            Subject to and without waiver of the foregoing general and specific objections, and to the
25
     extent that AbCellera understands the request, AbCellera intends to produce documents sufficient
26
     to show ownership of the Asserted Patents. AbCellera does not intend to produce any other
27
     documents in response to this request as currently drafted.
28
                                                      -9-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 REQUEST FOR PRODUCTION NO. 6:

 2         All Documents relating to Your decision to license the Asserted Patents or Related Patents
     and Applications.
 3
     RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
 4
            AbCellera incorporates by reference each of the foregoing General Objections as if set
 5
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
 6
     from disclosure by the attorney-client privilege, the attorney work product protection, common
 7
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
 8
     on the grounds that it seeks documents and information that are not relevant to any claim or
 9
     defense currently in this action and not proportional to the needs of the case, and because the
10
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
11
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
12
     in this case, including, but not limited to, the extent it seeks documents concerning “Related
13
     Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
14
     burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
15
            Subject to and without waiver of the foregoing general and specific objections, and to the
16
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
17
     documents in response to this Request as currently drafted. AbCellera is willing to meet and
18
     confer regarding this Request.
19
     REQUEST FOR PRODUCTION NO. 7:
20
          All Documents purporting or attempting to assign a value to the Asserted Patents or
21 Related Patents and Applications.

22 RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

23          AbCellera incorporates by reference each of the foregoing General Objections as if set

24 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

25 from disclosure by the attorney-client privilege, the attorney work product protection, common

26 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

27 on the grounds that it seeks documents and information that are not relevant to any claim or

28 defense currently in this action and not proportional to the needs of the case, and because the
                                                     -10-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 2 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 3 in this case, including, but not limited to, the extent it seeks documents concerning “Related

 4 Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly

 5 burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

 6 AbCellera further objects to the Request on the ground that the term “assign a value” is undefined,

 7 vague, and ambiguous. AbCellera further objects to this Request to the extent that it prematurely

 8 seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided for in the

 9 Local Rules and/or any schedule agreed to by the parties and adopted by the Court. AbCellera

10 further objects to this Request to the extent that it seeks expert testimony and/or legal conclusions.

11          Subject to and without waiver of the foregoing general and specific objections, and to the

12 extent that AbCellera understands the Request, AbCellera does not intend to produce any

13 documents in response to this Request as currently drafted. AbCellera is willing to meet and

14 confer regarding this Request.

15 REQUEST FOR PRODUCTION NO. 8:

16          All Documents constituting, referring to, or relating to the first disclosure of the subject
     matter disclosed or claimed in the Asserted Patents or Related Patents and Applications.
17
     RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
18
            AbCellera incorporates by reference each of the foregoing General Objections as if set
19
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
20
     from disclosure by the attorney-client privilege, the attorney work product protection, common
21
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
22
     on the grounds that it seeks documents and information that are not relevant to any claim or
23
     defense currently in this action and not proportional to the needs of the case, and because the
24
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
25
     limited to, the extent it seeks information about “the first disclosure” in the absence of any dispute
26
     regarding this subject matter, and to the extent that it seeks documents concerning “Related
27
     Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
28
                                                      -11-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

 2 AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal

 3 conclusions. AbCellera further objects to this Request as unduly burdensome as Defendant is no

 4 more burdened by the task of retrieving publicly available documents than is AbCellera.

 5 AbCellera further objects to this Request on the ground that it seeks information or documents that

 6 are not within AbCellera’s possession, custody, or control.

 7          Subject to and without waiver of the foregoing general and specific objections, and to the

 8 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 9 documents in response to this Request as currently drafted. AbCellera is willing to meet and

10 confer regarding this Request.

11 REQUEST FOR PRODUCTION NO. 9:

12        All Documents constituting, referring to, or relating to the first disclosure outside of
   AbCellera or UBC of the subject matter disclosed or claimed in the Asserted Patents or Related
13 Patents and Applications.

14 RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

15          AbCellera incorporates by reference each of the foregoing General Objections as if set
16 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

17 from disclosure by the attorney-client privilege, the attorney work product protection, common

18 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

19 on the grounds that it seeks documents and information that are not relevant to any claim or

20 defense currently in this action and not proportional to the needs of the case, and because the

21 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

22 limited to, the extent it seeks information about “the first disclosure” in the absence of any dispute

23 regarding this subject matter, and to the extent that it seeks documents concerning “Related

24 Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly

25 burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

26 AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal

27 conclusions. AbCellera further objects to this Request as unduly burdensome as Defendant is no

28 more burdened by the task of retrieving publicly available documents than is AbCellera.
                                                     -12-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1          Subject to and without waiver of the foregoing general and specific objections, and to the

 2 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 3 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 4 confer regarding this Request.

 5 REQUEST FOR PRODUCTION NO. 10:

 6          All Documents, including all laboratory notebooks and other records and data, research
   summaries, presentations, meeting minutes, and Communications referring or relating to the
 7 conception, design, testing, reduction to practice, or development of devices and methods that are
   disclosed or claimed in the Asserted Patents or Related Patents and Applications, or (without
 8 limitation) which you contend to be disclosed or claimed in the Asserted Patents or Related
   Patents and Applications.
 9
   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
10
            AbCellera incorporates by reference each of the foregoing General Objections as if set
11
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
12
   from disclosure by the attorney-client privilege, the attorney work product protection, common
13
   interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
14
   on the grounds that it seeks documents and information that are not relevant to any claim or
15
   defense currently in this action and not proportional to the needs of the case, and because the
16
   burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
17
   limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
18
   in this case, including, but not limited to, the extent it seeks documents concerning “Related
19
   Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
20
   burdensome to the extent that it seeks “[a]ll Documents … and Communications” regarding the
21
   requested subject matter. AbCellera further objects to the Request on the ground that the terms
22
   “other records,” “data,” “research summaries,” “presentations,” “meeting minutes,” “design,”
23
   “testing,” and “development” are undefined, vague, and ambiguous. AbCellera further objects to
24
   this Request to the extent that it prematurely seeks AbCellera’s contentions and/or expert
25
   opinion(s) before any date(s) provided for in the Local Rules and/or any schedule agreed to by the
26
   parties and adopted by the Court. AbCellera further objects to this Request to the extent that it
27
   seeks expert testimony and/or legal conclusions. AbCellera further objects to this Request on the
28
                                                    -13-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 ground that it seeks information or documents that are not within AbCellera’s possession, custody,

 2 or control. AbCellera further objects to this Request as unduly burdensome as Defendant is no

 3 more burdened by the task of retrieving publicly available documents than is AbCellera.

 4          Subject to and without waiver of the foregoing general and specific objections, and to the

 5 extent that AbCellera understands the Request, AbCellera will search for and, if found, produce

 6 copies of documents that relate to the conception and reduction to practice of the inventions

 7 claimed in the asserted claims of the Asserted Patents to the extent that any such documents are

 8 not protected from disclosure based on any applicable privilege or immunity. AbCellera does not

 9 intend to produce any other documents in response to this Request as currently drafted.

10 REQUEST FOR PRODUCTION NO. 11:

11          All Documents constituting, referring to, or relating to any comparison of the Asserted
   Patents and Related Patents and Applications, or the inventions claimed or disclosed in, or that
12 You contend are claimed or disclosed in, the Asserted Patents and Related Patents and
   Applications, on the one hand, and the Accused Products, on the other hand, including without
13 limitation any documents that include references to both the Accused Products and the Asserted
   Patents and Related Patents and Applications.
14
   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
15
            AbCellera incorporates by reference each of the foregoing General Objections as if set
16
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
17
   from disclosure by the attorney-client privilege, the attorney work product protection, common
18
   interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
19
   on the grounds that it seeks documents and information that are not relevant to any claim or
20
   defense currently in this action and not proportional to the needs of the case, and because the
21
   burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
22
   limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
23
   in this case, including, but not limited to, the extent it seeks documents concerning “Related
24
   Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
25
   burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
26
   AbCellera further objects to this Request to the extent that it prematurely seeks AbCellera’s
27
   contentions and/or expert opinion(s) before any date(s) provided for in the Local Rules and/or any
28
                                                    -14-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 schedule agreed to by the parties and adopted by the Court. AbCellera further objects to this

 2 Request to the extent that it seeks expert testimony and/or legal conclusions.

 3          Subject to and without waiver of the foregoing general and specific objections, and to the

 4 extent that AbCellera understands the Request, AbCellera will produce its infringement

 5 contentions and associated documents in accordance with the Local Rules and any schedule

 6 adopted by the Court. AbCellera does not intend to produce any other documents in response to

 7 this Request as currently drafted.

 8 REQUEST FOR PRODUCTION NO. 12:

 9         All Documents referring or relating to the date(s) on which or the circumstances under
   which You first became aware of the Beacon® system or any documents, including scientific
10 articles or patent applications, concerning the Beacon® system.

11 RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

12          AbCellera incorporates by reference each of the foregoing General Objections as if set
13 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

14 from disclosure by the attorney-client privilege, the attorney work product protection, common

15 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

16 on the grounds that it seeks documents and information that are not relevant to any claim or

17 defense currently in this action and not proportional to the needs of the case, and because the

18 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

19 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

20 in this case, including, but not limited to, the extent it seeks documents concerning when

21 AbCellera first became aware of the Beacon system. AbCellera further objects to this Request as

22 overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the

23 requested subject matter. AbCellera further objects to this Request as unduly burdensome as

24 Defendant is no more burdened by the task of retrieving publicly available documents than is

25 AbCellera.

26          Subject to and without waiver of the foregoing general and specific objections, and to the

27 extent that AbCellera understands the Request, AbCellera does not intend to produce any

28
                                                    -15-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 2 confer regarding this Request.

 3 REQUEST FOR PRODUCTION NO. 13:

 4         All Documents or Communications, including any Communications with any third party,
   that discuss or reference Berkeley Lights, the Accused Products, or other Berkeley Lights
 5 products.

 6 RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

 7          AbCellera incorporates by reference each of the foregoing General Objections as if set

 8 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

 9 from disclosure by the attorney-client privilege, the attorney work product protection, common

10 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

11 on the grounds that it seeks documents and information that are not relevant to any claim or

12 defense currently in this action and not proportional to the needs of the case, and because the

13 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

14 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

15 in this case. AbCellera further objects to this Request as overly broad and unduly burdensome to

16 the extent that it seeks “[a]ll Documents or Communications” regarding the requested subject

17 matter. AbCellera further objects to the Request on the ground that the phrases “other Berkeley

18 Lights products” and “any third party” are undefined, vague, and ambiguous. AbCellera further

19 objects to this Request on the ground that it seeks information or documents that are not within

20 AbCellera’s possession, custody, or control. AbCellera further objects to this Request as unduly

21 burdensome as Defendant is no more burdened by the task of retrieving publicly available

22 documents than is AbCellera.

23          Subject to and without waiver of the foregoing general and specific objections, and to the

24 extent that AbCellera understands the Request, AbCellera does not intend to produce any

25 documents in response to this request as currently drafted. AbCellera is willing to meet and confer

26 regarding this Request.

27

28
                                                    -16-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 REQUEST FOR PRODUCTION NO. 14:

 2        All Documents constituting, referring to, or relating to AbCellera’s license agreement with
   UBC for the Asserted Patents, including without limitation any Documents referencing proposed
 3 financial terms in this agreement and any alternative drafts of this agreement.

 4 RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

 5          AbCellera incorporates by reference each of the foregoing General Objections as if set

 6 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

 7 from disclosure by the attorney-client privilege, the attorney work product protection, common

 8 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 9 on the grounds that it seeks documents and information that are not relevant to any claim or

10 defense currently in this action and not proportional to the needs of the case, and because the

11 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

12 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

13 in this case, including, but not limited to, the extent it seeks documents regarding “any alternative

14 drafts of this agreement.” AbCellera further objects to this Request as overly broad and unduly

15 burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

16 AbCellera further objects to the Request on the ground that the phrase “referencing proposed

17 financial terms” is undefined, vague, and ambiguous.

18          Subject to and without waiver of the foregoing general and specific objections, and to the

19 extent that AbCellera understands the Request, AbCellera intends to produce AbCellera’s license

20 agreement with UBC for the Asserted Patents. AbCellera does not intend to produce any other

21 documents in response to this Request as currently drafted.

22 REQUEST FOR PRODUCTION NO. 15:

23         All Documents referring or relating to Your licensing policies, practices, and/ or
   procedures, including without limitation, Documents referring or relating to any calculation or
24 determination of, or to any policy practice relating to the calculation or determination of, any
   royalty or royalty rate.
25
   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
26
           AbCellera incorporates by reference each of the foregoing General Objections as if set
27
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
28
                                                     -17-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 from disclosure by the attorney-client privilege, the attorney work product protection, common

 2 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 3 on the grounds that it seeks documents and information that are not relevant to any claim or

 4 defense currently in this action and not proportional to the needs of the case, and because the

 5 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 6 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 7 in this case. AbCellera further objects to this Request as overly broad and unduly burdensome to

 8 the extent that it seeks “[a]ll Documents” regarding the requested subject matter. AbCellera

 9 further objects to the Request on the ground that the terms “licensing policies,” “practices,”

10 “procedures,” “policy practice,” “royalty,” and “royalty rate” are undefined, vague, and

11 ambiguous.

12          Subject to and without waiver of the foregoing general and specific objections, and to the

13 extent that AbCellera understands the Request, AbCellera does not intend to produce any

14 documents in response to this Request as currently drafted. AbCellera is willing to meet and

15 confer regarding this Request.

16 REQUEST FOR PRODUCTION NO. 16:

17         All Documents constituting, referring to or relating to any valuation or appraisal of any of
   the Asserted Patents or Related Patents and Applications, including any Documents Concerning
18 valuation of the Asserted Patents or Related Patents and Applications for purposes of licensing or
   for purposes of potential investment by prospective investors.
19
   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
20
           AbCellera incorporates by reference each of the foregoing General Objections as if set
21
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
22
   from disclosure by the attorney-client privilege, the attorney work product protection, common
23
   interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
24
   on the grounds that it seeks documents and information that are not relevant to any claim or
25
   defense currently in this action and not proportional to the needs of the case, and because the
26
   burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
27
   limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
28
                                                    -18-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 in this case, including, but not limited to, the extent it seeks documents concerning “Related

 2 Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly

 3 burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

 4 AbCellera further objects to the Request on the ground that the terms “valuation,” “appraisal,”

 5 “potential investment,” “prospective investors” are undefined, vague, and ambiguous. AbCellera

 6 further objects to this Request to the extent that it prematurely seeks AbCellera’s contentions

 7 and/or expert opinion(s) before any date(s) provided for in the Local Rules and/or any schedule

 8 agreed to by the parties and adopted by the Court. AbCellera further objects to this Request to the

 9 extent that it seeks expert testimony and/or legal conclusions.

10          Subject to and without waiver of the foregoing general and specific objections, and to the

11 extent that AbCellera understands the Request, AbCellera does not intend to produce any

12 documents in response to this Request as currently drafted. AbCellera is willing to meet and

13 confer regarding this Request.

14 REQUEST FOR PRODUCTION NO. 17:

15          All Documents that support, contradict, or Concern Your contention that You are entitled
     to damages pursuant to 35 U.S.C. § 284.
16
     RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
17
            AbCellera incorporates by reference each of the foregoing General Objections as if set
18
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
19
     from disclosure by the attorney-client privilege, the attorney work product protection, common
20
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
21
     as overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the
22
     requested subject matter. AbCellera further objects to this Request to the extent that it
23
     prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided
24
     for in the Local Rules and/or any schedule agreed to by the parties and adopted by the Court.
25
     AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal
26
     conclusions.
27

28
                                                     -19-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1          Subject to and without waiver of the foregoing general and specific objections, and to the

 2 extent that AbCellera understands the Request, AbCellera will produce its contentions and

 3 associated documents in accordance with the Local Rules and any schedule adopted by the Court.

 4 AbCellera does not intend to produce any other documents in response to this Request as currently

 5 drafted.

 6 REQUEST FOR PRODUCTION NO. 18:

 7           All Documents that support, contradict, or Concern Your contention that You are entitled
     to attorney’s fees and costs under 35 U.S.C. § 285.
 8
     RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
 9
            AbCellera incorporates by reference each of the foregoing General Objections as if set
10
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
11
     from disclosure by the attorney-client privilege, the attorney work product protection, common
12
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
13
     as overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the
14
     requested subject matter. AbCellera further objects to this Request to the extent that it
15
     prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided
16
     for in the Local Rules and/or any schedule agreed to by the parties and adopted by the Court.
17
     AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal
18
     conclusions.
19
            Subject to and without waiver of the foregoing general and specific objections, and to the
20
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
21
     documents in response to this Request as currently drafted. AbCellera is willing to meet and
22
     confer regarding this Request.
23
     REQUEST FOR PRODUCTION NO. 19:
24
           All Documents that support, contradict, or Concern Your request for enhanced damages up
25 to and including treble damages.

26 RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

27          AbCellera incorporates by reference each of the foregoing General Objections as if set

28 forth herein. AbCellera objects to this Request to the extent that it seeks information protected
                                                     -20-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 from disclosure by the attorney-client privilege, the attorney work product protection, common

 2 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 3 as overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the

 4 requested subject matter. AbCellera further objects to this Request to the extent that it

 5 prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided

 6 for in the Local Rules and/or any schedule agreed to by the parties and adopted by the Court.

 7 AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal

 8 conclusions.

 9          Subject to and without waiver of the foregoing general and specific objections, and to the

10 extent that AbCellera understands the Request, AbCellera does not intend to produce any

11 documents in response to this Request as currently drafted. AbCellera is willing to meet and

12 confer regarding this Request.

13 REQUEST FOR PRODUCTION NO. 20:

14           All Documents supporting, contradicting, or Relating to Your contention that You are
     entitled to costs and reasonable expenses to the fullest extent permitted by law.
15
     RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
16
            AbCellera incorporates by reference each of the foregoing General Objections as if set
17
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
18
     from disclosure by the attorney-client privilege, the attorney work product protection, common
19
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
20
     as overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the
21
     requested subject matter. AbCellera further objects to this Request to the extent that it
22
     prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided
23
     for in the Local Rules and/or any schedule agreed to by the parties and adopted by the Court.
24
     AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal
25
     conclusions.
26
            Subject to and without waiver of the foregoing general and specific objections, and to the
27
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
28
                                                     -21-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 2 confer regarding this Request.

 3 REQUEST FOR PRODUCTION NO. 21:

 4        Documents that support, contradict, or concern Your Contention that Berkeley Lights’
   alleged infringement of any claim of the Asserted Patents has caused, is causing, and/ or will cause
 5 You irreparable harm.

 6 RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

 7          AbCellera incorporates by reference each of the foregoing General Objections as if set

 8 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

 9 from disclosure by the attorney-client privilege, the attorney work product protection, common

10 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

11 as overly broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the

12 requested subject matter. AbCellera further objects to this Request to the extent that it

13 prematurely seeks AbCellera’s contentions and/or expert opinion(s) before any date(s) provided

14 for in the Local Rules and/or any schedule agreed to by the parties and adopted by the Court.

15 AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal

16 conclusions.

17          Subject to and without waiver of the foregoing general and specific objections, and to the

18 extent that AbCellera understands the Request, AbCellera does not intend to produce any

19 documents in response to this Request as currently drafted. AbCellera is willing to meet and

20 confer regarding this Request.

21 REQUEST FOR PRODUCTION NO. 22:

22         All Documents identified in Your responses to any interrogatory or request for admission
     propounded by Berkeley Lights in this action.
23
     RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
24
            AbCellera incorporates by reference each of the foregoing General Objections as if set
25
     forth herein.
26
            Subject to and without waiver of the foregoing general and specific objections, and to the
27
     extent that AbCellera understands the Request, AbCellera will conduct a reasonable search for
28
                                                    -22-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 and, if found, will produce non-public documents explicitly identified in its Responses to BLI’s

 2 First Set of Interrogatories to AbCellera (Nos. 1-9) that have not otherwise been produced.

 3 AbCellera does not intend to produce any other documents in response to this Request as currently

 4 drafted.

 5 REQUEST FOR PRODUCTION NO. 23:

 6        All Documents concerning Berkeley Lights’ research and development efforts, including
   without limitation all Documents concerning Berkeley Lights’ design and development of the
 7 Accused Products and Berkeley Lights’ design and development of other products.

 8 RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

 9          AbCellera incorporates by reference each of the foregoing General Objections as if set

10 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

11 from disclosure by the attorney-client privilege, the attorney work product protection, common

12 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

13 on the grounds that it seeks documents and information that are not relevant to any claim or

14 defense currently in this action and not proportional to the needs of the case, and because the

15 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

16 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

17 in this case. AbCellera further objects to this Request as overly broad and unduly burdensome to

18 the extent that it seeks “[a]ll Documents” regarding the requested subject matter. AbCellera

19 further objects to this Request on the ground that it seeks information or documents that are not

20 within AbCellera’s possession, custody, or control; but rather is in the possession, custody, or

21 control of Defendant. AbCellera further objects to this Request as unduly burdensome as

22 Defendant is no more burdened by the task of retrieving publicly available documents than is

23 AbCellera.

24          Subject to and without waiver of the foregoing general and specific objections, and to the

25 extent that AbCellera understands the Request, AbCellera does not intend to produce any

26 documents in response to this Request as currently drafted. AbCellera is willing to meet and

27 confer regarding this Request.

28
                                                    -23-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 REQUEST FOR PRODUCTION NO. 24:

 2           All Documents constituting, referring to, or relating to any analysis of any product other
     than the Accused Products, infringes any of the Asserted Patents or Related Patents.
 3
     RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
 4
            AbCellera incorporates by reference each of the foregoing General Objections as if set
 5
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
 6
     from disclosure by the attorney-client privilege, the attorney work product protection, common
 7
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
 8
     on the grounds that it seeks documents and information that are not relevant to any claim or
 9
     defense currently in this action and not proportional to the needs of the case, and because the
10
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
11
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
12
     in this case to the extent it seeks documents concerning “Related Patents” and documents
13
     concerning products not at issue in this action. AbCellera further objects to this Request as overly
14
     broad and unduly burdensome to the extent that it seeks “[a]ll Documents” regarding the requested
15
     subject matter. AbCellera further objects to the Request on the ground that the phrase “any
16
     product other than the Accused Products” is undefined, vague, and ambiguous. AbCellera further
17
     objects to this Request on the ground that it seeks information or documents that are not within
18
     AbCellera’s possession, custody, or control.
19
            Subject to and without waiver of the foregoing general and specific objections, and to the
20
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
21
     documents in response to this Request as currently drafted. AbCellera is willing to meet and
22
     confer regarding this Request.
23
     REQUEST FOR PRODUCTION NO. 25:
24
          All Documents referring or relating to whether or not the Beacon® system, the Culture
25 Station™ system, or the Opto™ Plasma B Discovery Workflow satisfies any elements of the
   Asserted Claims.
26

27

28
                                                     -24-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

 2          AbCellera incorporates by reference each of the foregoing General Objections as if set

 3 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

 4 from disclosure by the attorney-client privilege, the attorney work product protection, common

 5 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 6 on the grounds that it seeks documents and information that are not relevant to any claim or

 7 defense currently in this action and not proportional to the needs of the case, and because the

 8 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 9 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

10 in this case. AbCellera further objects to this Request as overly broad and unduly burdensome to

11 the extent that it seeks “[a]ll Documents” regarding the requested subject matter. AbCellera

12 further objects to the Request on the ground that the phrase “Asserted Claims” is undefined,

13 vague, and ambiguous. AbCellera further objects to this Request on the ground that it seeks

14 information or documents that are not within AbCellera’s possession, custody, or control.

15          Subject to and without waiver of the foregoing general and specific objections, and to the

16 extent that AbCellera understands the Request, AbCellera will produce its infringement

17 contentions and associated documents in accordance with the Local Rules and any schedule

18 agreed to by the parties and adopted by the Court. AbCellera does not intend to produce any other

19 documents in response to this Request as currently drafted.

20 REQUEST FOR PRODUCTION NO. 26:

21           All Documents referring or relating to Your decision to sue Berkeley Lights for
     infringement of the Asserted Patents.
22
     RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
23
            AbCellera incorporates by reference each of the foregoing General Objections as if set
24
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
25
     from disclosure by the attorney-client privilege, the attorney work product protection, common
26
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
27
     on the grounds that it seeks documents and information that are not relevant to any claim or
28
                                                     -25-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
      Case 4:20-cv-08624-JST Document 90-1 Filed 05/27/21 Page 27 of 36




 1 defense currently in this action and not proportional to the needs of the case, and because the

 2 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 3 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 4 in this case. AbCellera further objects to this Request as overly broad and unduly burdensome to

 5 the extent that it seeks “[a]ll Documents” regarding the requested subject matter.

 6          Subject to and without waiver of the foregoing general and specific objections, and to the

 7 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 8 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 9 confer regarding this Request.

10 REQUEST FOR PRODUCTION NO. 27:

11         All Documents sufficient to show the identity, structure, and operation of any products
     You contend embody the Asserted Patents.
12
     RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
13
            AbCellera incorporates by reference each of the foregoing General Objections as if set
14
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
15
     from disclosure by the attorney-client privilege, the attorney work product protection, common
16
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
17
     on the grounds that it seeks documents and information that are not relevant to any claim or
18
     defense currently in this action and not proportional to the needs of the case, and because the
19
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
20
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
21
     in this case, including, but not limited to, the extent it seeks documents concerning products not at
22
     issue in this litigation. AbCellera further objects to this Request as overly broad and unduly
23
     burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
24
     AbCellera further objects to the Request on the ground that the phrases “identity, structure, and
25
     operation,” “any products,” and “embody the Asserted Patents” are undefined, vague, and
26
     ambiguous. AbCellera further objects to this Request to the extent that it prematurely seeks
27
     AbCellera’s contentions and/or expert opinion(s) before any date(s) provided for in the Local
28
                                                     -26-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 Rules and/or any schedule agreed to by the parties and adopted by the Court. AbCellera further

 2 objects to this Request to the extent that it seeks expert testimony and/or legal conclusions.

 3          Subject to and without waiver of the foregoing general and specific objections, and to the

 4 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 5 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 6 confer regarding this Request.

 7 REQUEST FOR PRODUCTION NO. 28:

 8          All Documents that refer or relate to the design and development of any products You
     contend embody the Asserted Patents.
 9
     RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
10
            AbCellera incorporates by reference each of the foregoing General Objections as if set
11
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
12
     from disclosure by the attorney-client privilege, the attorney work product protection, common
13
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
14
     on the grounds that it seeks documents and information that are not relevant to any claim or
15
     defense currently in this action and not proportional to the needs of the case, and because the
16
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
17
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
18
     in this case, including, but not limited to, the extent it seeks documents concerning products not at
19
     issue in this litigation. AbCellera further objects to this Request as overly broad and unduly
20
     burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
21
     AbCellera further objects to the Request on the ground that the terms and phrases “design,”
22
     “development,” “any products” and “embody the Asserted Patents” are undefined, vague, and
23
     ambiguous. AbCellera further objects to this Request to the extent that it prematurely seeks
24
     AbCellera’s contentions and/or expert opinion(s) before any date(s) provided for in the Local
25
     Rules and/or any schedule agreed to by the parties and adopted by the Court. AbCellera further
26
     objects to this Request to the extent that it seeks expert testimony and/or legal conclusions.
27

28
                                                      -27-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
              ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1          Subject to and without waiver of the foregoing general and specific objections, and to the

 2 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 3 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 4 confer regarding this Request.

 5 REQUEST FOR PRODUCTION NO. 29:

 6          Documents sufficient to show all customers of any products You contend embody the
     Asserted Patents, including when those customers became Your customers.
 7
     RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
 8
            AbCellera incorporates by reference each of the foregoing General Objections as if set
 9
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
10
     from disclosure by the attorney-client privilege, the attorney work product protection, common
11
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
12
     on the grounds that it seeks documents and information that are not relevant to any claim or
13
     defense currently in this action and not proportional to the needs of the case, and because the
14
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
15
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
16
     in this case, including, but not limited to, the extent it seeks documents concerning products not at
17
     issue in this action. AbCellera further objects to this Request as overly broad and unduly
18
     burdensome to the extent that it seeks documents concerning “[a]ll customers” of “any products”
19
     regarding the requested subject matter. AbCellera further objects to the Request on the ground
20
     that the phrases “customers,” “any products,” and “embody the Asserted Patents” are undefined,
21
     vague, and ambiguous. AbCellera further objects to this Request on the ground that it seeks
22
     information or documents that are not within AbCellera’s possession, custody, or control.
23
            Subject to and without waiver of the foregoing general and specific objections, and to the
24
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
25
     documents in response to this Request as currently drafted. AbCellera is willing to meet and
26
     confer regarding this Request.
27

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                                                     -28-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
             ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 REQUEST FOR PRODUCTION NO. 30:

 2           Any agreements, including without limitation agreements between AbCellera and UBC,
     relating or referring to this Litigation.
 3
     RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
 4
            AbCellera incorporates by reference each of the foregoing General Objections as if set
 5
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
 6
     from disclosure by the attorney-client privilege, the attorney work product protection, common
 7
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
 8
     on the grounds that it seeks documents and information that are not relevant to any claim or
 9
     defense currently in this action and not proportional to the needs of the case, and because the
10
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
11
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed
12
     issues in this case. AbCellera further objects to this Request as overly broad and unduly
13
     burdensome to the extent that it seeks “[a]ny agreements” regarding the requested subject matter.
14
            Subject to and without waiver of the foregoing general and specific objections, and to the
15
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
16
     documents in response to this Request as currently drafted. AbCellera is willing to meet and
17
     confer regarding this Request.
18
     REQUEST FOR PRODUCTION NO. 31:
19
          All Communications between AbCellera and UBC referring or relating to the decision to
20 sue Berkeley Lights in the Litigation.

21 RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

22          AbCellera incorporates by reference each of the foregoing General Objections as if set

23 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

24 from disclosure by the attorney-client privilege, the attorney work product protection, common

25 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

26 on the grounds that it seeks documents and information that are not relevant to any claim or

27 defense currently in this action and not proportional to the needs of the case, and because the

28 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
                                                     -29-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 limited to, the extent that it is unlimited in time and scope and does not concern any disputed

 2 issues in this case. AbCellera further objects to this Request as overly broad and unduly

 3 burdensome to the extent that it seeks “[a]ll communications” regarding the requested subject

 4 matter.

 5           Subject to and without waiver of the foregoing general and specific objections, and to the

 6 extent that AbCellera understands the Request, AbCellera does not intend to produce any

 7 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 8 confer regarding this Request.

 9 REQUEST FOR PRODUCTION NO. 32:

10           All Documents constituting, referring or relating to any analysis of Berkeley Lights’
     patents, patent applications, or technologies.
11
     RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
12
             AbCellera incorporates by reference each of the foregoing General Objections as if set
13
     forth herein. AbCellera objects to this Request to the extent that it seeks information protected
14
     from disclosure by the attorney-client privilege, the attorney work product protection, common
15
     interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
16
     on the grounds that it seeks documents and information that are not relevant to any claim or
17
     defense currently in this action and not proportional to the needs of the case, and because the
18
     burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not
19
     limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue
20
     in this case, including, but not limited to, the extent it seeks documents concerning patents other
21
     than the Asserted Patents. AbCellera further objects to this Request as overly broad and unduly
22
     burdensome to the extent that it seeks “[a]ll documents” regarding the requested subject matter.
23
     AbCellera further objects to this Request to the extent that it seeks expert testimony and/or legal
24
     conclusions. AbCellera further objects to this Request on the ground that it seeks information or
25
     documents that are not within AbCellera’s possession, custody, or control.
26
             Subject to and without waiver of the foregoing general and specific objections, and to the
27
     extent that AbCellera understands the Request, AbCellera does not intend to produce any
28
                                                     -30-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
              ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PRODUCTION
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 1 documents in response to this Request as currently drafted. AbCellera is willing to meet and

 2 confer regarding this Request.

 3 REQUEST FOR PRODUCTION NO. 33:

 4          All Documents provided to investors or potential investors in connection with AbCellera’s
   initial public offering referring or relating to the Asserted Patents or Related Patents or
 5 Applications, or to Berkeley Lights, or to this Litigation, or to AbCellera’s agreement with UBC
   regarding the Asserted Patents or Related Patents or Applications.
 6
   RESPONSE TO REQUEST FOR PRODUCTION NO. 33:
 7
            AbCellera incorporates by reference each of the foregoing General Objections as if set
 8
   forth herein. AbCellera objects to this Request to the extent that it seeks information protected
 9
   from disclosure by the attorney-client privilege, the attorney work product protection, or any other
10
   privileges or immunities. AbCellera further objects to this Request on the grounds that it seeks
11
   documents and information that are not relevant to any claim or defense currently in this action
12
   and not proportional to the needs of the case, and because the burden and expense to AbCellera
13
   outweighs any likely benefit to Defendant, including, but not limited to, the extent that it does not
14
   concern any disputed issue in this case to the extent it seeks documents concerning “Related
15
   Patents and Applications.” AbCellera further objects to this Request as overly broad and unduly
16
   burdensome to the extent that it seeks “[a]ll Documents” regarding the requested subject matter.
17
   further objects to the Request on the ground that the terms “investors,” and “potential investors”
18
   are undefined, vague and ambiguous. AbCellera further objects to this Request as unduly
19
   burdensome as Defendant is no more burdened by the task of retrieving publicly available
20
   documents than is AbCellera.
21
            Subject to and without waiver of the foregoing general and specific objections, and to the
22
   extent that AbCellera understands the request, AbCellera does not intend to produce any
23
   documents in response to this request as currently drafted. AbCellera is willing to meet and confer
24
   regarding this request.
25
   REQUEST FOR PRODUCTION NO. 34:
26
            All lab notebooks from 2007-present date for each of the named inventors on the
27 inventions claimed or disclosed in, or that You contend are claimed or disclosed in, the Asserted
   Patents and Related Patents and Applications, including abandoned patent applications.
28
                                                    -31-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

 2          AbCellera incorporates by reference each of the foregoing General Objections as if set

 3 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

 4 from disclosure by the attorney-client privilege, the attorney work product protection, common

 5 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request

 6 on the grounds that it seeks documents and information that are not relevant to any claim or

 7 defense currently in this action and not proportional to the needs of the case, and because the

 8 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 9 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

10 in this case, including, but not limited to, the extent it seeks documents concerning “Related

11 Patents and Applications, including abandoned patent applications” and “inventions claimed or

12 disclosed in” the Asserted Patents. AbCellera further objects to this Request as overly broad and

13 unduly burdensome to the extent it seeks “[a]ll laboratory notebooks” regarding the requested

14 subject matter. AbCellera further objects to this Request to the extent that it seeks expert

15 testimony and/or legal conclusions. AbCellera further objects to this Request on the ground that it

16 seeks information or documents that are not within AbCellera’s possession, custody, or control.

17          Subject to and without waiver of the foregoing general and specific objections, and to the

18 extent that AbCellera understands the Request, AbCellera does not intend to produce any

19 documents in response to this Request as currently drafted. AbCellera is willing to meet and

20 confer regarding this Request.

21 REQUEST FOR PRODUCTION NO. 35:

22        All Documents or Communications, including Communications between AbCellera and
   UBC, referring to or relating to the Petition filed for Post-Grant Review of U.S. Patent No.
23 10,646,871.

24 RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

25          AbCellera incorporates by reference each of the foregoing General Objections as if set

26 forth herein. AbCellera objects to this Request to the extent that it seeks information protected

27 from disclosure by the attorney-client privilege, the attorney work product protection, common

28 interest privilege, or any other privileges or immunities. AbCellera further objects to this Request
                                                    -32-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 on the grounds that it seeks documents and information that are not relevant to any claim or

 2 defense currently in this action and not proportional to the needs of the case, and because the

 3 burden and expense to AbCellera outweighs any likely benefit to Defendant, including, but not

 4 limited to, the extent that it is unlimited in time and scope and does not concern any disputed issue

 5 in this case, including, but not limited to, the extent it seeks documents concerning patents other

 6 than the Asserted Patents. AbCellera further objects to this Request as overly broad and unduly

 7 burdensome to the extent it seeks “[a]ll Documents or Communications” regarding the requested

 8 subject matter. AbCellera further objects to this Request as unduly burdensome as Defendant is

 9 no more burdened by the task of retrieving publicly available documents than is AbCellera.

10          Subject to and without waiver of the foregoing general and specific objections, and to the

11 extent that AbCellera understands the Request, AbCellera does not intend to produce any

12 documents in response to this Request as currently drafted.

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                                                    -33-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1 Dated: March 26, 2021                    By: /s/ Eric C. Stops
                                                Eric C. Stops (admitted pro hac vice)
 2                                              ericstops@quinnemanuel.com
                                                F. Dominic Cerrito (admitted pro hac vice)
 3                                              nickcerrito@quinnemanuel.com)
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14
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16                                               50 California Street, 22nd Floor
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17                                               (415) 875-6600
18                                               Attorneys for Plaintiffs
                                                 AbCellera Biologics Inc. and The University of
19                                               British Columbia
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                                               -34-   Case Nos. 20-cv-08624-LHK, 20-cv-08626-LHK, 20-cv-08627-LHK
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 1                                     CERTIFICATE OF SERVICE
 2          I, Eric Stops, am employed in the County of New York, State of New York. I am over the

 3 age of eighteen years and not a party to the within action; my business address is 51 Madison

 4 Avenue, 22nd Floor, New York, New York 10010.

 5          On March 26, 2021, I served a true copy of ABCELLERA BIOLOGICS INC.’S
 6 RESPONSES TO DEFENDANT BERKELEY LIGHTS, INC.’S FIRST SET OF

 7 REQUESTS FOR PRODUCTION TO PLAINTIFF ABCELLERA BIOLOGICS INC. via

 8 email, on the interested parties in this action addressed as follows:

 9   IRELL & MANELLA LLP                                TURNER BOYD LLP
     Morgan Chu                                         Karen I. Boyd
10   mchu@irell.com                                     boyd@turnerboyd.com
     Alan J. Heinrich                                   Jennifer Seraphine
11   aheinrich@irell.com                                seraphine@turnerboyd.com
     Keith A. Orso                                      Keeley I. Vega
12   korso@irell.com                                    vega@turnerboyd.com
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13   etuan@irell.com                                    mdpeters@turnerboyd.com
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14   dcourtney@irell.com                                wai@turnerboyd.com
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     Los Angeles, California 90067                      Redwood City, California 94063
16   Telephone: (310) 277-1010                          Telephone: (650) 521-5930
     Facsimile: (310) 203-7199                          Facsimile: (650) 521-5931
17   Attorneys for Defendant Berkeley Lights, Inc.      Attorneys for Defendant Berkeley Lights, Inc.

18

19 BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from

20 ericstops@quinnemanuel.com on March 26, 2021, by transmitting PDF format copies of such

21 documents to each such person at the e-mail address specified above. The documents were

22 transmitted by electronic transmission and such transmission was reported as complete and

23 without error. I declare under penalty of perjury under the laws of the United States of America

24 that the foregoing is true and correct.

25 Executed on March 26, 2021, at New York, New York.

26

27                                                    /s/ Eric C. Stops
                                                      Eric Stops
28

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                               ABCELLERA BIOLOGICS INC.’S RESPONSES TO DEFENDANT FIRST SET OF REQUESTS FOR PR
